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 6

 7

 8                               UNITED STATES DISTRICT COURT
 9                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     BEAUTIFUL SLIDES, INC. and MITCH              Case No. 3:17-cv-01091-MMC
12   GRASSO,
                                                   REPLY BY PLAINTIFFS AND
13                 Plaintiffs,                     COUNTERCLAIM-DEFENDANTS
                                                   BEAUTIFUL SLIDES, INC. AND
14          v.                                     MITCH GRASSO IN SUPPORT OF
15                                                 THEIR MOTION TO DISMISS THE
     MAY ALLEN,
                                                   FIRST THROUGH FOURTH CAUSES
16                 Defendant.                      OF ACTION IN COUNTERCLAIMANT
                                                   MAY ALLEN’S AMENDED
17                                                 COUNTERCLAIM
18
                                                  Hearing Date: November 17, 2017
19                                                Hearing Time: 9:00 a.m.
                                                  Courtroom: 7
20                                                Judge: Hon. Maxine M. Chesney

21
     MAY ALLEN,
22
                   Counterclaimant,
23
            v.
24
     BEAUTIFUL SLIDES, INC., MITCH
25   GRASSO, and DOES 1-100,
26                 Counterclaim-Defendants.
27

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 1                                             INTRODUCTION

 2            Tellingly, Allen’s opposition makes no attempt to explain the contradictions between her

 3   Amended Counterclaim (“ACC”) and her initial Counterclaim — most notably, the discrepancies

 4   between (1) the Counterclaim’s averment that Grasso did not form the intent to “cut Allen out” of

 5   their purported enterprise until September 2016, and the ACC’s vague allegation “on information

 6   and belief” that, “if Grasso did not always intend to keep the value of Beautiful Slides for himself,

 7   Grasso changed his mind and decided to keep the value for himself”; and (2) the Counterclaim’s

 8   allegation that “[t]here were few formal discussions between Grasso and Allen about the nature of

 9   their relationship” beyond Grasso’s alleged statement that he would not “screw [Allen] over,” and

10   the ACC’s conclusory claim that Grasso and Allen “expressly divided management and control of

11   partnership business.” Moreover, in insisting that the ACC complies with the Court’s directives

12   in dismissing the non-copyright claims, Allen repeatedly relies on language that simply does not

13   appear in the ACC — inaccurately asserting, for instance, that the ACC alleges that, absent

14   Grasso’s purported concealment of his intent to “cut Allen out,” Allen “would have demanded a

15   partnership agreement in writing,” or “backed out of the partnership and worked on developing

16   her own software.” For these and other reasons, Allen’s opposition only confirms that her tort

17   claims are meritless and should be dismissed without leave to amend.

18   I.       ALLEN’S FIRST THREE CLAIMS ARE PREEMPTED, AS THE ACC FAILS TO
              ALLEGE FACTS ESTABLISHING A PARTNERSHIP OR JOINT VENTURE
19
              A.     It Is Appropriate to Dismiss Allen’s Claims Based on the ACC’s Failure
20                   to Adequately Allege a Partnership or Joint Venture

21            Allen asserts that, “[b]ecause the question whether a joint venture or partnership was

22   formed is a ‘fact-specific inquiry,’ . . . it is not appropriate for the Court to address that question .

23   . . under Rule 12(b)(6).” (Opp’n. to Mot. to Dismiss, Oct. 16, 2017 (“Opp’n.”), at 2 (quoting

24   Second Measure, Inc. v. Kim, 143 F. Supp. 3d 961, 968 (N.D. Cal. 2015)). But the quoted text is

25   from Second Measure’s summary of the plaintiff’s argument, not the court’s reasoning. See

26   Second Measure, Inc., 143 F. Supp. 3d at 968 (“[A]ccording to Kim, it is not appropriate for the

27   Court to address whether a joint venture or partnership was formed on a motion under Rule

28   12(b)(6) . . . .”) (emphasis added). Second Measure acknowledged it is proper to dismiss a claim

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 1   based on a partnership where the plaintiff fails to allege facts supporting the partnership’s

 2   existence, stating that, “[f]or breach of a partnership or joint venture, the plaintiff must . . . allege

 3   an agreement to participate in the management of the business.” Id. at 971. Likewise,

 4   Sacramento E.D.M., Inc. v. Hynes Aviation Indus., Inc., 965 F. Supp. 2d 1141 (E.D. Cal. 2013),

 5   ruled that the complaint’s “facts [we]re sufficient to plead the existence of a partnership,”

 6   Sacramento E.D.M., Inc., 965 F. Supp. 2d at 1150 — not that a claim dependent on a partnership

 7   is immune to dismissal. Moreover, numerous authorities confirm it is appropriate to dismiss

 8   Allen’s claims for failure to properly allege a partnership or joint venture. See Prostar Wireless

 9   Group, LLC v. Domino’s Pizza, Inc., No. 3:16-cv-05339, 2017 WL 67075, *4 (N.D. Cal. Jan. 6,

10   2017) (dismissing fiduciary breach claim, as plaintiff “has failed to adequately plead sharing of

11   profits and losses” needed to form joint venture); Celebrity Chefs Tour, LLC v. Macy’s, Inc., No.

12   13-cv-2714, 2015 WL 11237460, *8 (S.D. Cal. Aug. 10, 2015) (dismissing claim because

13   “Plaintiffs still fail to allege each of the elements of a joint venture”); MP Nexlevel of Cal., Inc. v.

14   CVIN, LLC, No. 1:14–cv–288, 2014 WL 5019639, *9 (E.D. Cal. Oct. 7, 2014) (“[T]he SAC does

15   not allege sufficient facts to establish the existence of a partnership by estoppel . . . .”).

16            B.     The ACC Does Not Say the Parties Orally Agreed to a Partnership

17            Allen next asserts that the ACC “plead[s] the parties orally agreed to form a partnership.”

18   (Opp’n. at 3-4 (citing ACC ¶¶ 11, 50, 52, 53).) But the only actual communications discussed in

19   the cited paragraphs are Allen’s alleged April 2014 statement that “I think we should do some

20   serious brainstorming together for a new company,” and Grasso’s response “Ok.” (ACC ¶ 11.)

21   This exchange was not an agreement to “share profits [or] . . . jointly manage and control the

22   enterprise,” which, as the Court stated, are the “requisite elements” of a partnership. (Ord.

23   Granting Mot. to Dismiss Counterclaims, Aug. 31, 2017 (“8/31 Order”), at 6.) Grasso did not

24   agree to any such terms in the alleged discussion — only that he would “brainstorm” with Allen,

25   and, even if he agreed to collaborate with Allen in some form, a mere collaboration is insufficient

26   to create a partnership. (Mem. of Ps. & As. in Supp. of Mot. to Dismiss, Oct. 2, 2017 (“Mem.”),

27   at 9.)

28

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 1          C.      The ACC Fails to Sufficiently Plead that the Parties Intended to Share
                    Profits from, or Management and Control of, the Supposed Enterprise
 2
                    1.      Intent to share profits
 3
            First, Allen relies on the ACC’s allegations that, “[o]n June 9, 2014,” “Allen suggested
 4
     the parties enter into a written agreement memorializing their partnership,” and “Grasso
 5
     responded that a writing was unnecessary because Allen and Grasso were friends” and “he had no
 6
     intent to ‘screw over’ Allen.” (Opp’n. at 6 (citing ACC ¶ 20).) Allen made substantially similar
 7
     allegations in her Counterclaim (Def.’s Counterclaim, Apr. 10, 2017 (“Counterclaim”), ¶ 15), and
 8
     the Court found them insufficient to indicate an intent to share profits (8/31 Order, at 7). Further,
 9
     Grasso’s mere omission to object to Allen’s use of the word “partnership” does not give rise to a
10
     legal partnership. (Mem. at 10-11.)
11
            Second, Allen points to the ACC’s averments that “Grasso expressed concern . . . about
12
     Allen’s ability to contribute sufficient time” in July and August of 2016, and “Grasso had no basis
13
     to be anxious about her time commitment but for ultimate profit sharing.” (Opp’n. at 6 (citing
14
     ACC ¶¶ 31-33).) Allen nowhere explains why Grasso’s desire that Allen devote more time to the
15
     Software obviously reflects an intent to share profits. Further, as Plaintiffs noted (Mem. at 10-
16
     11), Allen’s speculation about the reasons for Grasso’s “concern” is at odds with Allen’s
17
     admissions. Allen’s Answer admits Grasso advised her, in 2014 and the summer of 2016, that he
18
     could not yet offer Allen a salary because he had not obtained outside financing. (Def.’s Answer,
19
     Apr. 10, 2017 (“Ans.”), ¶¶ 12, 15; Compl., Mar. 2, 2017, ¶¶ 12, 15.) When Grasso obtained
20
     financing in September 2016, he offered her salaried employment. (ACC ¶¶ 38, 39.) If anything,
21
     Grasso’s conduct suggests that, throughout Allen’s work, Grasso was considering hiring her once
22
     he had sufficient capital, and was “anxious” because he was concerned she might not devote
23
     adequate time to the Company. Allen’s opposition does not address this issue.
24
            Third, Allen relies on the ACC’s allegation that, in discussing her prospective
25
     employment, “Grasso admitted contributions were made” by Allen “worthy of sharing equity in
26
     the company.” (Opp’n. at 6 (citing ACC ¶¶ 41, 43).) Grasso’s supposed admission that Allen
27
     “contributed” to the design or marketing of the Software does not establish a partnership — as
28

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 1   noted above, the mere fact that the parties worked together is irrelevant. See, e.g., MP Nexlevel of

 2   Cal., Inc., 2014 WL 5019639, *8 (dismissing fiduciary breach claim, as “the Court cannot find . .

 3   . any authority holding that a collaboration between two parties to jointly build a project, in and of

 4   itself, evinces a legal partnership”). Nor does Grasso’s mere inclusion of equity in his

 5   employment offer to Allen suggest an intent to equally share profits. See Wolf v. Super. Ct., 107

 6   Cal. App. 4th 25, 30-31 (2003) (“[T]he contractual right to contingent compensation in the

 7   control of another has never, by itself, been sufficient to create a fiduciary relationship where one

 8   would not otherwise exist.”); Wiltsee v. Cal. Emp. Comm., 69 Cal. App. 2d 120, 125 (1945)

 9   (employment contract affording plaintiff 25% of business’s profits “created an employer-

10   employee relationship between the parties, and did not create a partnership,” as “the interest in the

11   profits unconnected with any power of control[] does not make [plaintiff] a joint adventurer”).

12   Indeed, the ACC says Grasso declined to offer Allen a “cofounder” share of the Company’s

13   equity, because “i’ve [sic] done > 99% of the work and taken 100% of the risk,” although he

14   offered a smaller “equity grant above perhaps [Allen’s] pure experience level.” (ACC ¶ 41.)

15          Fourth, Allen asserts that, contrary to the Court’s prior order, “the agreement to share

16   profits is evidence of, but not a necessary element of a partnership.” (Opp’n. at 6.) Allen relies

17   on Second Measure’s statement that, although the plaintiff’s complaint did not “allege the usual

18   indicia of the existence of a partnership: co-ownership of property, sharing of gross returns, and

19   sharing of business profits,” “[t]he presence or absence of any of these indicia is not dispositive.”

20   (Opp’n. at 6-7 (quoting Second Measure, Inc., 143 F. Supp. 3d at 972).) Taken in context, the

21   quoted language refers to the fact that the plaintiff did not allege that the parties actually shared

22   profits — not that they lacked the intent to do so in the future. The plaintiff alleged that, unlike

23   Allen and Grasso, the parties “entered into an ‘explicit oral agreement’ that ‘each of them would

24   have 1/2 ownership and profit interests.’” Second Measure, Inc., 143 F. Supp. 3d at 972.

25          Allen next quotes the statement in Holmes v. Lerner, 74 Cal. App. 4th 442 (1999), that

26   “the Legislature intends profit sharing to be evidence of a partnership, rather than a required

27   element of the definition of a partnership.” (Opp’n. at 7 (quoting Holmes, 74 Cal. App. 4th at

28   453-54).) As the Court observed, Holmes so stated in holding that “evidence of ‘actual sharing of

                                                       4
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 1   profits’ is not required” (8/31 Order, at 7 (quoting Holmes, 74 Cal. App. 4th at 457)) — not that

 2   intent to share profits is not essential to a partnership. The parties in Holmes, the Court further

 3   noted, had “an understanding to share in profits and losses” — in contrast to Grasso and Allen,

 4   who are not alleged to have reached such an understanding. (Id. (quoting Holmes, 74 Cal. App.

 5   4th at 457).) Allen further relies on Auditorium Co. v. Barsotti, 40 Cal. App. 592 (1919), but that

 6   case held that “the mere agreement between two or more persons to divide the profits of an

 7   undertaking is not sufficient to constitute them partners,” and thus the trial court properly ruled

 8   that no partnership existed. Id. at 595-96. Finally, Allen cites the statement in Universal Sales

 9   Corp. v. Cal. Press Mfg. Co., 20 Cal. 2d 751 (1942), a breach of contract case, that, “[w]hile in a

10   technical joint venture there is usually a sharing of profits and losses, . . . the mode of

11   participating in the fruits of the undertaking may be left to the agreement of the parties.” (Opp’n.

12   at 7 (quoting Univ. Sales Corp., 20 Cal. 2d at 764).) But the preceding sentence notes that the

13   parties agreed in writing to share profits, saying the plaintiff would receive a “share of the gross

14   proceeds of sales of” the products at issue, “whether such sales be negotiated by the plaintiff or

15   the defendant . . . .” Univ. Sales Corp., 20 Cal. 2d at 764. Thus, in the quoted text, the court was

16   simply observing that there are many ways in which a contract can accomplish the sharing of

17   profits — not that profit-sharing is not a prerequisite for a joint venture. Id. Further, extensive

18   authority confirms that intent to share profits is essential to a partnership or joint venture. See

19   Kapu Gems v. Diamond Imports, Inc., No. 15-cv-03531, 2016 WL 4259119, *8 (N.D. Cal. Aug.

20   12, 2016) (“The elements necessary for the creation of a joint venture” include “an understanding

21   to share profits and losses”) (quoting April Enters., Inc. v. KTTV & Metromedia, Inc., 147 Cal.

22   App. 3d 805, 819 (1983)); Simmons v. Ware, 213 Cal. App. 4th 1035, 1054 (2013) (“Agreement

23   to share in the profits and losses of the enterprise is . . . essential to a joint venture.”).

24                   2.      Intent to share management and control

25                           a.      The ACC does not adequately plead a joint intent to
                                     manage and control the purported enterprise
26

27           Allen characterizes the ACC as asserting that “Allen and Grasso expressly agreed on a

28   division of business management and control based on their respective talents,” and claims this

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 1   suffices to allege joint management and control. (Opp’n. at 4 (citing ACC ¶ 14).) At the outset,

 2   Plaintiffs noted that Allen’s Counterclaim alleged “[t]here were few formal discussions between

 3   Grasso and Allen about the nature of their relationship” and did not mention an “express division

 4   of management and control,” and the ACC’s newly-minted claim that Grasso and Allen formally

 5   discussed such a division impermissibly contradicts those allegations. (Mem. at 14.) Allen

 6   ignores this inconsistency. Further, as Plaintiffs observed (id. at 12), the parties’ purported

 7   agreement that Grasso would work on “the coding of the software” and Allen would work on “the

 8   software’s design and product/company positioning” does not amount to joint management and

 9   control — for that to exist, Allen would have needed “an equal vote in [some] final management

10   decision” (8/31 Order, at 7), not simply a share of the enterprise’s day-to-day tasks. Allen

11   responds that “this argument is contrary to the express holding of Second Measure, where

12   allegations that the parties ‘agreed on a division of business responsibilities’ and ‘an equal say in

13   the control of the management of the joint venture/ partnership’” were “sufficient to defeat a

14   12(b)(6) motion.” (Opp’n. at 5 (quoting Second Measure, Inc., 143 F. Supp. 3d at 972).)

15   However, the Second Measure complaint did not solely say the parties divided tasks between

16   them — unlike the ACC, it said they had “an equal say in the control of the management of the

17   joint venture/partnership.” Second Measure, 143 F. Supp. 3d at 972. As Plaintiffs’ authorities

18   indicate, management of the business is distinct from the mere performance of the business’s

19   routine tasks, such as coding and marketing the Software. (Mem. at 12-13.) In any event, Allen

20   does not respond to Plaintiffs’ observation (id.) that, despite Allen’s conclusory allegation of an

21   “express division” of tasks, the ACC’s description of the parties’ work indicates that Grasso, not

22   Allen, had final authority regarding “design and product/company positioning.”

23          Sacramento E.D.M., which Allen also cites, is likewise inapposite. There, the defendants

24   argued the complaint failed to plead a partnership because it “d[id] not refer to any enforceable

25   contract that would have created a fiduciary relationship between the parties,” Sacramento

26   E.D.M., 965 F. Supp. 2d at 1149 — not, as Plaintiffs contend, that the conduct alleged by the

27   plaintiff did not give rise to a partnership. In rejecting this argument, the court thus addressed an

28   issue distinct from the one raised by Plaintiffs. Moreover, in contrast to the ACC, the complaint

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 1   in Sacramento E.D.M. alleged that “the parties agreed to conduct” the alleged partnership’s

 2   “business together and to share [its] . . . profits, that Defendants agreed to provide operating

 3   capital for [its] . . . operations, and that Defendants assumed some of the control over the business

 4   enterprise” — not simply that the parties performed different types of work. Id.

 5                           b.      Allen’s attempts to distinguish Plaintiffs’ authorities are
                                     unpersuasive
 6
             First, Allen claims a series of cases Plaintiffs cited with respect to management and
 7
     control (Mem. at 13, 15) are irrelevant because they concerned summary judgment (Opp’n. at 5).
 8
     While those cases decided summary judgment motions, they are still instructive regarding which
 9
     facts are relevant to the management and control issue. See, e.g., U.S. v. Fresno County, No. CV-
10
     F-01-5990, 2006 WL 190852, *3 (E.D. Cal. 2006) (“Although Hopper,” case relied on by court,
11
     “involved summary judgment, not a motion to dismiss,” plaintiff failed “to state a claim with
12
     regard to the elements set forth in Hopper”); see also Toussie v. Town Bd., No. Civ. 08-1922,
13
     2010 WL 597469, *9 n.4 (E.D.N.Y. Feb. 17, 2010) (although cases relied on by court “were
14
     decided on motions for summary judgment whereas the instant motion is one to dismiss pursuant
15
     to 12(b)(6),” “[b]oth decisions . . . provide guidance on the legal principles that guide a[] . . .
16
     claim such as the one under discussion”). Relatedly, numerous authorities dismissing claims
17
     predicated on a partnership rely on summary judgment opinions regarding the requirements for
18
     such a relationship. See, e.g., Leitner v. Sadhana Temple, No. 13-07902, 2014 WL 12588643, *6-
19
     7 (C.D. Cal. Oct. 17, 2014) (citing Orosco v. Sun-Diamond Corp., 51 Cal. App. 4th 1659, 1666
20
     (1997) (granting summary judgment based on absence of joint venture)); MP Nexlevel of Cal.,
21
     2014 WL 5019639, *8 (citing Love v. The Mail on Sunday, 489 F. Supp. 2d 1100, 1108 (C.D.
22
     Cal. 2007) (granting summary judgment based on absence of partnership)); 8/31 Order, at 7.
23
             Second, Allen claims Celebrity Chefs Tour is distinguishable because, beyond finding the
24
     complaint’s allegation that the purported partners “were jointly in control of their partnership”
25
     “conclusory,” the court noted the plaintiffs’ complaint was internally contradictory, as it claimed
26
     both that the alleged partners “had an ownership interest in ‘Macy’s Great American Chef’s
27
     Tour’” and that “Plaintiffs . . . alone owned all of the rights to GACT.” (Opp’n. at 5-6 (quoting
28

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 1   Celebrity Chefs Tour, LLC, 2015 WL 11237460, *8).) But that does not distinguish Celebrity

 2   Chefs Tour, because, as noted above, the ACC also contradicts itself by making numerous

 3   allegations suggesting Grasso, not Allen, controlled “the software’s design and product/company

 4   positioning.” See also Leitner, 2014 WL 12588643, *6-7 (as plaintiff’s “allegations establish that

 5   she had no control over the [alleged joint venture’s] . . . internal financial affairs, . . . . [i]n the

 6   face of such allegations, the conclusory assertion that [plaintiff] ‘delegated [the] control she had

 7   in the [ ] joint venture to [defendants]’ . . . does not suffice to plead that she had joint control over

 8   the alleged business affairs”). In any event, other authorities have held conclusory allegations in

 9   support of a partnership insufficient, even absent internal contradictions in the complaint. See,

10   e.g., ROTFL Prods., LLC v. Gzebb, No. 13-cv-0293, 2013 WL 12181763, *4 (N.D. Cal. Aug. 5,

11   2013) (“Since no partnership relationship is pleaded between [plaintiff] and defendants, [plaintiff]

12   has not asserted plausible grounds on which defendants could have owed a fiduciary duty to it.”).

13           Third, Allen asserts that MP Nexlevel, which observed, inter alia, that “the Court cannot

14   find[] any authority holding that a collaboration between two parties to jointly build a project . . .

15   evinces a legal partnership,” MP Nexlevel of Cal., Inc., 2014 WL 5019639, *8, is inapposite

16   because the ACC “alleges many facts that give rise to a partnership, including the fact that Grasso

17   was vague about it.” (Opp’n. at 8.) If Allen is suggesting that the allegation that Grasso failed to

18   deny that the parties were partners supports the existence of a partnership, Allen is mistaken. See,

19   e.g., MP Nexlevel of Cal., Inc., 2014 WL 5019639, *3 (while plaintiff alleged “[n]either CVIN

20   nor CENIC took any steps to publicly deny the many statements of their partnership,’” court

21   dismissed claims predicated on partnership). Allen further contends MP Nexlevel “noted that its

22   analysis would be different if ‘one or both of [the alleged partners] failed to clarify the nature of

23   their relationship.’” (Opp’n. at 9.) In fact, the referenced language says “[t]he Court’s analysis

24   might be different if” the alleged partners “made affirmative representations directly to [plaintiff]

25   that [they] . . . were ‘partners’ and . . . failed to clarify the nature of their relationship.” MP

26   Nexlevel of Cal., 2014 WL 5019369, *8 n.8 (emphasis added). The ACC, in contrast, nowhere

27   says Grasso affirmatively represented that he and Allen were partners.

28

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 1          Fourth, Allen claims that “Counter-Defendants fail to mention that, before the court”

 2   granted summary judgment in Love, “the court first denied defendants’ 12(b)(6) motion . . . .”

 3   (Opp’n. at 9 (citing Love v. The Mail on Sunday, No. CV-05779, 2006 WL 4046181, *4 (C.D.

 4   Cal. Nov. 16, 2006).) But the cited order simply said that, although a related, prior jury verdict

 5   did not collaterally estop the defendant from contesting the existence of a partnership, “there are .

 6   . . allegations in the complaint that suffice to allege that a partnership existed independent of the

 7   special verdict,” without quoting those allegations. Love, 2006 WL 4046181, *4. The court also

 8   noted that “[w]hether the alleged partnership was terminated . . . cannot be resolved at this time in

 9   a motion to dismiss,” suggesting the defendant’s position was that the alleged partnership was

10   somehow terminated. Id. As its rationale is unclear, the order cited by Allen is of little relevance.

11                  3.      “Additional surrounding circumstances”

12          Allen suggests that “additional surrounding circumstances,” beyond the intent to share

13   profits and the intent to jointly manage and control the business, can establish a partnership.

14   (Opp’n. at 7-8.) Here, Allen claims, these include “Grasso’s use of the word ‘we,’” “Grasso’s

15   failure to ever controvert or otherwise challenge Allen’s statements that the two were partners,”

16   “Grasso and Allen’s key decision making relating to the best domain name,” “name for their

17   company,” and so on, and “Grasso’s affirmation in writing to a prospective investor that Grasso

18   and Allen were working on a new startup together, as partners.” (Id. (citing ACC ¶¶ 16, 17, 22,

19   34, 35, 37, 38).) As an initial matter, the ACC nowhere says Grasso wrote to a prospective

20   investor that he and Allen were “partners” — rather, the cited text alleges only that Grasso

21   suggested Allen write to a potential investor “Mitch and I are working on a new startup in the

22   presentation space and I thought it might be interesting to connect you,” i.e., Grasso and the

23   investor, “to discuss.” (ACC ¶ 37.) As to the other allegations — Grasso’s use of the word “we,”

24   omission to tell Allen they were not partners, and discussions regarding the Company’s marketing

25   — Plaintiffs explained why those are irrelevant to the elements of a partnership. (Mem. at 9-11.)

26   Further, Allen’s assertion that In re Lona, 393 B.R. 1 (Bankr. N.D. Cal. 2008), found a

27   partnership “based on three letters wherein the parties used the word ‘we’” mischaracterizes that

28   case. Allen omits to mention an extensive list of factors Lona relied on in finding that the

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 1   defendants were legal partners, including that, inter alia, the defendant claiming not to be a

 2   partner was “listed as the chief executive officer and sole director” of the alleged partnership, the

 3   defendants executed an agreement that “identified [them] . . . as business partners,” and the

 4   defendant “informed [plaintiff] that she had invested $100,000 in” the partnership. Id. at 6, 10,

 5   12. Further, the letters referenced by Allen did not simply use the word “we” in referring to the

 6   defendants — rather, they were jointly written by the defendants, and “ma[d]e it clear that” the

 7   defendants “believed they were jointly responsible for the debt to” the plaintiff at issue. Id. at 15.

 8   II.    THE COPYRIGHT ACT PREEMPTS ALLEN’S CONVERSION CLAIM

 9          Beyond the ACC’s failure to plead a partnership or joint venture, Plaintiffs explained

10   (Mem. at 7, 14-15) that Allen’s conversion claim should be dismissed for the further reason that

11   Allen failed to “specify the ‘non-copyrightable partnership property’ she contends forms the basis

12   of her conversion claim” (8/31 Order, at 8 n.6). Allen responds, relying on Brown v. Snapchat,

13   Inc., No, CV 13-08569, 2014 WL 12573368 (C.D. Cal. Feb. 3, 2014), that “an out-partners’ [sic]

14   partnership claims under California state law contain several additional elements not found in the

15   Copyright Act,” as “‘a partner’s default rights under California state law include equal share in

16   the profits and losses’” and “‘equal rights in the management and conduct of the partnership

17   business.’” (Opp’n. at 11 (quoting Brown, 2014 WL 12573368, *3).)

18          As an initial matter, the ACC’s conversion claim does not mention any of the partnership-

19   related rights listed in Brown — it merely says Grasso converted Allen’s interests in “a business .

20   . . over and above the software product” and “its non-copyrightable assets.” (ACC ¶¶ 60, 61.) In

21   any event, Brown made the quoted statement in discussing the plaintiff’s claim for “breach of

22   implied partnership/joint venture agreement,” not his conversion claim. Brown, 2014 WL

23   12573368, *3. Brown nowhere suggested the “default rights” referenced by Allen are the type of

24   property subject to a conversion claim. Likewise, Allen’s reliance on Second Measure’s refusal

25   to dismiss the plaintiff’s conversion claim because the plaintiff sought “a share of the business’s

26   assets and profits,” which is “the type of property that is the proper subject of a claim of

27   conversion because it is of ascertainable value,” is misplaced. Second Measure, 143 F. Supp. 3d

28   at 981. The only “asset” of the Company identified in the ACC is its copyright relating to the

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 1   Software, which, of course, is not subject to a conversion claim. (Mem. at 7.) The ACC’s

 2   conversion claim does not say anything about the Company’s profits — in fact, the ACC

 3   repeatedly asserts that Allen expected to receive profits “down the road, if any,” suggesting the

 4   Company has not made a profit. (ACC ¶¶ 33, 35, 50(b), 51(c), 68(e), 81(d).) Moreover,

 5   substantial copyright preemption authority holds that a right to receive profits from a copyrighted

 6   work, i.e., the Software, is not subject to a conversion claim. See Ward v. Mitchell, No. 12–cv–

 7   3932, 2013 WL 1758840, *5 (N.D. Cal. Apr. 24, 2013) (“[T]he rights asserted by

 8   [counterclaimant] ‘to all profits and/or income that derives from the distribution and/or sale

 9   and/or licensing’ of [band’s] albums are equivalent to those protected by 17 U.S.C. § 106,” and,

10   “[a]s such, [counterclaimant’s] conversion claim for profits from distribution of the albums is

11   preempted.”); Worth v. Universal Pictures, Inc., 5 F. Supp. 2d 816, 822-23 (C.D. Cal. 1997) (as

12   “Plaintiffs do not bring their conversion action for retrieval” of tangible property, “but rather for

13   the profits from the movie’s reproduction and distribution,” they “fail to claim a ‘physical

14   deprivation’” and hence their “conversion claim is preempted by federal copyright law”).

15          Finally, Allen claims the ACC “allege[s] that Grasso converted her interest to stock

16   certificates,” and cites Fremont Indem. Co. v. Fremont Gen. Corp., 148 Cal. App. 4th 97 (2007),

17   which held “[s]hares of stock are tangible” and therefore the proper subject of a conversion claim.

18   (Opp’n. at 12 (quoting Fremont Indem. Co., 148 Cal. App. 4th at 122).) But Allen does not claim

19   to have ever owned shares in the Company, or that Grasso deprived her of them — rather, she

20   claims Grasso “interfered with Allen’s interests in the business and its non-copyrightable assets”

21   by “putting the corporation’s stock in his name.” (ACC ¶ 62(b).) The ACC does not specify

22   what property interests “the business” or “its non-copyrightable assets” consist of, and therefore

23   fails to comply with the Court’s directive that Allen “specify the ‘non-copyrightable partnership

24   property’ she contends forms the basis of her conversion claim.” (8/31 Order, at 8 n.6.)

25   III.   ALLEN’S BREACH OF IMPLIED CONTRACT CAUSE OF ACTION IS
            PREEMPTED AND INADEQUATELY PLEADED
26
            First, Allen claims the ACC alleges conduct creating an implied contract because it
27
     “alleges two plus years [sic] of conduct from which a . . . contract to work together, divide
28

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 1   responsibilities and share equally in any resulting benefits may be inferred.” (Opp’n. at 14.)1 As

 2   Plaintiffs explained, the mere, alleged facts that the parties worked together, and Grasso used

 3   “we” in referring to himself and Allen, do not establish a contract to equally share profits. (Mem.

 4   at 15-16.) Allen responds by taking issue with Plaintiffs’ reliance on the holding of Landucci v.

 5   State Farm Ins. Co., 65 F. Supp. 3d 694 (N.D. Cal. 2014), that “vague assurances do not suffice

 6   to show an implied contract,” claiming Landucci’s rationale was actually that “an HR

 7   representative’s statement that Plaintiff would receive a pension if she were fired” did not create a

 8   contract because “[i]t is not a statement concerning employment status at all, but rather pensions.”

 9   (Opp’n. at 15 (quoting Landucci, 65 F. Supp. 3d at 714).) The fact that the alleged statement

10   concerned pensions was one ground for the court’s decision, but the court further held that,

11   “[e]ven if” the statement “may have been construed by Plaintiff to mean that her employment was

12   in some sense . . . permanent,” the statement was a “vague assurance[]” incapable of giving rise to

13   an implied contract. Landucci, 65 F. Supp. 3d at 714.

14          Second, Allen disputes Plaintiffs’ observation that the ACC’s implied contract claim fails

15   to set forth the terms of the purported contract, claiming “[n]othing in California law or Rule 8

16   requires specificity with respect to every term and how it was performed.” (Opp’n. at 14.) But

17   the law certainly requires more specificity as to the agreement’s terms than the description of the

18   alleged contract in the ACC, which says only that Grasso was obligated “to share profits,” and

19   that there were “significant things that the contract required [Allen] to do,” without setting forth

20   what those “things” were. (ACC ¶¶ 69, 73; see also Mem. at 16-17.)

21          Third, in response to Plaintiffs’ contention that Grasso could not have breached his

22   obligation “to share profits” because the ACC admits the Company has not made a profit (Mem.

23   at 17), Allen asserts that, instead, Grasso’s “obligation was to share with Allen all rewards from

24   their efforts equally” (Opp’n. at 14). The ACC’s implied contract claim nowhere says Grasso had

25   such an obligation, but in any event, the ACC does not make clear how Grasso’s conduct

26          1
               Allen’s repeated claim that, according to the ACC, she and Grasso worked together for
     “two plus years” (Opp’n. at 14) is inaccurate. The ACC actually alleges that the parties worked
27   together between April and December 2014 (ACC ¶¶ 11-23) and then “communications died off”
     (id. ¶ 24), and “more than a year later, in March 2016 . . . Grasso resurfaced to tell Allen he had
28   been heads down [sic] working on Beautiful Slides” (id. ¶ 25).

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 1   amounted to a failure to share “rewards” with Allen, or even what “rewards” supposedly existed.

 2   (Mem. at 17.) Allen further claims “the Court has already rejected this argument,” citing the

 3   Court’s statement that Allen “alleges Grasso took ‘for himself all profits and compensation that

 4   would have gone to [Allen],’ . . . which, read in the light most favorable to Allen, the Court

 5   understands to allege profits were in fact earned.” (Opp’n. at 15 (citing 8/31 Order, at 9 n.7).)

 6   But Allen neglects that, unlike the Counterclaim addressed in the Court’s prior order, the ACC

 7   repeatedly alleges that Allen expected the parties “would be sharing profits down the road, if

 8   any,” indicating the Company has yet to make a profit. (Mem. at 17.)

 9          Fourth, Allen says this case “is far more similar” to Second Measure and Moreno v. SFX

10   Ent’mt., Inc., No. CV-14-0880, 2015 WL 4573226 (C.D. Cal. Jul. 29, 2015). (Opp’n. at 15.)

11   Allen is mistaken. In Second Measure, the alleged conduct the court found sufficient to plead an

12   implied partnership agreement included the parties’ “agree[ment] to share ownership of the

13   business,” “sign[ing] [of] tandem non-disclosure agreements,” “split[ting] [of] business costs,”

14   and “discuss[ion] [of] whether to incur certain business expenses.” Second Measure, Inc., 143 F.

15   Supp. 3d at 978-79. Here, the parties made no such explicit acknowledgments of their co-

16   ownership of the business. Similarly, Moreno denied summary judgment to the defendants based

17   on a number of factors suggesting co-ownership of the alleged joint venture that are not present

18   here, including the defendant’s written “propos[al] [of] specific terms for what [defendant]

19   call[ed] ‘our deal,’” acceptance of the plaintiff’s proposal that the plaintiff receive “1.5mm

20   founder shares” in the alleged joint venture, and statement, in accepting the plaintiff’s proposal,

21   that, if the plaintiff “[a]sks anyone who has been part of any of our companies, . . . they will tell

22   you that they made . . . money from the optional payments.” Moreno, 2015 WL 4573226, *4-5.

23   IV.    ALLEN’S FRAUD CAUSE OF ACTION FAILS TO PLEAD WITH
            PARTICULARITY
24
            A.      Concealment or Suppression, and Intent to Defraud
25
            Plaintiffs noted that Allen fails to explain why the Counterclaim’s allegation that Grasso
26
     formed the intent to “cut Allen out” in September 2016 is now absent from the ACC, and
27
     replaced with a vague allegation “on information and belief” that, “if Grasso did not always
28

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 1   intend to keep the value of Beautiful Slides for himself, Grasso changed his mind and decided to

 2   keep the value for himself.” (Mem. at 19-20 (citing ACC ¶ 30).) Rather than addressing this

 3   issue, Allen replies that, “[t]o the extent Grasso argues that the issue of intent was not pled with

 4   the requisite specificity under Rule 9, it did not have to be.” (Opp’n. at 17-18.) Regardless of the

 5   specificity with which Allen must plead intent, Allen cannot contradict her prior pleading without

 6   explanation. (Mem. at 19-20.) Further, the ACC does not even “generally” allege facts reflecting

 7   Grasso’s fraudulent intent — only speculation “on information and belief,” with no stated factual

 8   basis. See Ovitz v. Chartis Prop. Cas. Co., No. CV 15-3916, 2015 WL 12746209, *8 (C.D. Cal.

 9   Sept. 14, 2015) (fraud allegations on information and belief were insufficient, as “[t]he complaint

10   . . . must state the factual allegations on which it bases its belief”) (citing Neubronner v. Milken, 6

11   F.3d 666, 672 (9th Cir. 1993)).

12          B.      Duty to Disclose

13          Allen claims to have sufficiently “allege[d] the time, place and nature of Grasso’s

14   incomplete disclosures.” (Opp’n. at 16.) But Allen simply cites a series of alleged statements by

15   herself and Grasso from the ACC’s “General Allegations” (id. at 16-17), and fails to respond to

16   Plaintiffs’ observation that Allen’s fraud cause of action nowhere says which communications

17   cited in the “General Allegations” form the basis for Allen’s fraud claim (Mem. at 20-21).

18   Moreover, Allen improperly purports to explain, for the first time in her Opposition, what the

19   alleged communications omitted to disclose — e.g., in stating in June 2014 that “a writing was

20   not required because the two were friends,” Grasso “did not disclose that in fact, there was no

21   partnership and/or that she was a mere employee,” and did not disclose, in using the word “we” in

22   June 2016, that “his reference to ‘we’ meant anything other than partners . . . .” (Opp’n. at 16-

23   17.) See Broam v. Bogan, 320 F.3d 1023, 1026 n.2 (9th Cir. 2003) (“In determining the propriety

24   of a Rule 12(b)(6) dismissal, a court may not look beyond the complaint to a plaintiff’s moving

25   papers, such as a memorandum in opposition to a defendant’s motion to dismiss.”). Allen further

26   takes issue with Plaintiffs’ citation to Mohebbi v. Khazen, 50 F. Supp. 3d 1234 (N.D. Cal. 2014),

27   and Doll v. Stars Holding Co., No. C-05-1132, 2005 WL 2811767 (N.D. Cal. Oct. 27, 2005).

28   Allen claims Mohebbi is distinguishable because, there, “Plaintiff identified certain paragraphs as

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 1   setting forth the time, place and nature of defendants’ misrepresentations, but the court noted

 2   ‘these paragraphs do not in fact include any such information.’” (Opp’n. at 17 (quoting Mohebbi,

 3   50 Supp. 3d at 1256).) But that is also true here — not only does the ACC’s fraud claim, as in

 4   Mohebbi, fail to specify which of the “General Allegations” it is based on, but also Allen

 5   improperly attempts to cure that deficiency in her Opposition. Allen further purports to

 6   distinguish Doll on the ground that it “refused to address the adequacy of plaintiff’s state law

 7   claims, including fraud, for lack of jurisdiction.” (Opp’n. at 17.) But the fact that Doll dismissed

 8   federal-law fraud claims, rather than state-law ones, based on the plaintiff’s vague reliance on

 9   “General Allegations,” Doll, 2005 WL 2811767, *2, plainly is not a material distinction.

10          C.      Detrimental Reliance

11          Allen insists that “[t]he Amended Counterclaim routinely alleges how Allen relied on

12   Grasso’s comments in expending more time and effort on the project.” (Opp’n. at 18.) In fact,

13   only one paragraph cited by Allen claims reliance by her, alleging “Allen reasonably relied” on

14   Grasso’s June 2014 statement that “he had no intent to ‘screw over’ Allen” “in continuing to do

15   work . . . with expectations of sharing profits thereof.” (ACC ¶ 20.) As Plaintiffs explained, if

16   Grasso did not form the intent to “cut Allen out” of the Company until September 2016, Grasso

17   could not have “fraudulently concealed” that intent by way of the June 2014 statement, and thus

18   the June 2014 statement cannot form the basis for Allen’s cause of action. (Mem. at 19, 21.) The

19   remaining, cited paragraphs (ACC ¶¶ 15, 18, 26, 81(d)) say nothing about Allen’s detrimental

20   reliance. Likewise, Allen’s contention that, had she known of Grasso’s intent to “cut her out,”

21   “she would have demanded a partnership agreement in writing,” or “backed out of the partnership

22   and worked on developing her own software” (Opp’n. at 18), does not appear in the ACC.

23    Dated: October 23, 2017                  SEUBERT FRENCH FRIMEL & WARNER LLP
24
                                               By:      /s/ William J. Frimel
25
                                                     WILLIAM J. FRIMEL
26                                                   Attorneys for Plaintiffs and Counterclaim-
                                                     Defendants BEAUTIFUL SLIDES, INC. and
27                                                   MITCH GRASSO

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